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 7
                           UNITED STATES DISTRICT COURT
 8                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
      MARK AARON HAYNIE, BRENDAN
10    JOHN RICHARDS, THE CALGUNS                 Case Nos.:   3:10-CV-01255 SI
      FOUNDATION, INC., and THE                               3:11-CV-02493 SI
11                                                            (Consolidated Cases)
      SECOND AMENDMENT
12    FOUNDATION, INC.,
             Plaintiffs,
13                       vs.                     STIPULATION and JOINT
                                                 ADMINISTRATIVE MOTION
14    KAMALA HARRIS, Attorney General            Re: Related Case
      of California (in her official capacity)
15    and CALIFORNIA DEPARTMENT                  ND CA Rule 7-11
      OF JUSTICE, CITY OF ROHNERT                ND CA Rule 3-12(b)
16    PARK, OFFICER DEAN BECKER
17    (RP134), and DOES 1 TO 20,
             Defendants.
18
19
      BRENDAN JOHN RICHARDS, THE
20    CALGUNS FOUNDATION, INC.,                  Case No.:    3:11-CV-05580 SI
      and THE SECOND AMENDMENT                                (Related Case)
21    FOUNDATION, INC.,
22           Plaintiffs,                         STIPULATION and JOINT
                         vs.                     ADMINISTRATIVE MOTION
23    KAMALA HARRIS, Attorney General            Re: Related Case
      of California (in her official capacity)
24    and CALIFORNIA DEPARTMENT                  ND CA Rule 7-11
                                                 ND CA Rule 3-12(b)
25    OF JUSTICE, SONOMA COUNTY
      SHERIFFS’ OFFICE, SHERIFFS’
26    DEPUTY GREG MYERS (SD1023)
      and DOES 1 TO 20,
27
             Defendants.
28


     Stipulation/Order: Related Case       Page 1 of 4                     Haynie v. Harris
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      MAX JOSEPH PLOG-HOROWITZ,
 2    THE CALGUNS FOUNDATION,                      Case No.: 3:12-CV-0452 LB
      INC., and THE SECOND
 3                                                 (Proposed Related Case)
      AMENDMENT FOUNDATION, INC.,
 4          Plaintiffs,

 5                         vs.                     STIPULATION and JOINT
                                                   ADMINISTRATIVE MOTION
 6                                                 Re: Related Case
      KAMALA HARRIS, Attorney General
 7    of California, CALIFORNIA                    ND CA Rule 7-11
      DEPARTMENT OF JUSTICE,                       ND CA Rule 3-12(b)
 8    COTATI POLICE DEPARTMENT,
 9    CITY OF COTATI, ANDREW
      LYSSAND (CO0339) and DOES 1 TO
10    20,
             Defendants.
11
12          IT IS HEREBY STIPULATED1 by and between the parties hereto through
13   their respective attorneys of record that a subsequent case is and ought to be
14   related to this action.
15          The subsequent case is Plog-Horowitz, et al., v. Harris, et al, Case No.: CV-12-
16   0452 LB. The case was filed on January 27, 2012. A true and correct copy of the
17   Complaint without exhibits is attached. A Notice of Related Case was also filed in
18   the subsequent case.
19          The case sought to be related sets forth similar issues of law and fact that are
20   plead in the consolidated Second Amended Complaint in Case Nos.: 3:10-CV-01255
21   SI (Haynie v. Harris) and 3:11-CV-02493 SI (Richards v. Harris I), and in the initial
22   Complaint filed in Case No.: 3:11-CV-05580 SI (Richards v. Harris II). The only
23   substantial differences between the cases would be the addition of Defendants:
24   CITY OF COTATI, COTATI POLICE DEPARTMENT and ANDREW LYSSAND
25
            1
26            Haynie v. Harris, Case No.: 3:10-CV-01255 SI was ordered consolidated with
     Richards v. Harris, Case No.: 3:11-CV-02493 SI, in an ordered filed on October 22,
27   2011. (See Documents # 42 and #15 respectively. The second Richards v. Harris,
28   Case No.: 3:11-CV-05580 was ordered to be related with the first two cases in an
     order filed on December 21, 2011. (See documents #47 and # 20 respectively.)

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 1   (CO0339). The law firm currently representing the Rohnert Park Defendants in
 2   Richards I, (Robert Henkels of Geary, Shea, O’Donnell, Grattan & Mitchell, P.C.)
 3   has already accept service of the complaint in Plog-Horowitz, et al., v. Harris, et al.
 4          The Defendants, by and through undersigned counsel stipulate that the cases
 5   are related pursuant to Local Rule 3-12.
 6          The Plaintiffs, by and through undersigned counsel stipulate that the cases
 7   are related pursuant to Local Rule 3-12.
 8          SO STIPULATED.
 9   Date: February 29, 2012                        Date: February 29, 2012
10            /s/                                                   /s/
     Ross Moody,                                    Donald Kilmer
11   Counsel for Defendants                         Counsel for Plaintiffs
     Harris & California Dept. of Justice
12
13   Date: February 29, 2012                        Date: February 29, 2012
14            /s/                                          /s/
     Robert W. Henkels                              Anne Keck
15   Counsel for Defendants                         Counsel for Defendants
     City of Rohnert Park & Becker                  Sonoma County & Myer
16
17
        ATTESTATION FOR COMPLIANCE WITH GENERAL ORDER 45 AND
18                                  LOCAL RULE VIII.B.
        I, Donald Kilmer, declare under penalty of perjury under the laws of California
19   and the United States that I have in my possession e-mail correspondence from
     Ross Moody, Robert Henkels and Anne Keck that the content of this document is
20   acceptable to all persons required to sign the document. I declare that this
     document was signed in San Jose, CA on February 29, 2012.
21
                  /s/
22   Donald Kilmer
     Attorney for Plaintiffs
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                                                                                              Case 3:12-cv-00452-SI Document 5 Filed 03/01/12 Page 4 of 4



                                                                                     1                                     FINDINGS AND ORDER
                                                                                     2          Pursuant to the stipulation of the parties and a review of the Complaint in
                                                                                     3   Plog-Horowitz, et al., v. Harris, et al, Case No.: CV-12-0452 LB., and the Complaints
                                                                                     4   in the other related cases in this action, this Court finds that the matters are
                                                                                     5   related under Local Rule 3-12.
                                                                                     6          The Clerk of the Court is directed to reassign Plog-Horowitz, et al., v. Harris,
                                                                                     7   et al, Case No.: CV-12-0452 LB. to the same docket as Haynie v. Harris, Case No.:
                                                                                     8   CV 10-1255 SI; Richards v. Harris, Case No.: CV-11-02493; and Richards v. Harris,
                                                                                     9   Case No.: 3:11-CV-05580 SI. All deadlines in Plog-Horowitz, et al., v. Harris, et al,
                                                                                    10   Case No.: CV-12-0452 LB are vacated and a Case Management Conference is to be
                                                                                    11   combined with the currently scheduled Case Management Conference in this
LAW OFFICE OF DONALD KILMER, APC
                                   1645 Willow St., Suite 150, San Jose, CA 95125




                                                                                    12   matter set for March 30, 2012 at 2:30 p.m. in Courtroom 10, 19th Floor, San
                                       Vc: (408) 264-8489 Fx: (408) 264-8487




                                                                                    13   Francisco.
                                               Don@DKLawOffice.com




                                                                                    14          Plaintiffs are directed to serve a copy of this Stipulation and Order on the
                                                                                    15   remaining Defendants in Plog-Horowitz, et al., v. Harris, et al, Case No.: CV-12-
                                                                                    16   0452 LB.
                                                                                    17   Date: 3/1/12
                                                                                    18
                                                                                    19                                       United States District Judge
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